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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

JOSEPH STRAUCH, et al, individually and on
behalf of all those similarly situated,
        Plaintiffs,

        v.                                                  Civil No.   3:14-CV-956 (JBA)

COMPUTER SCIENCES CORPORATION,
        Defendant.

                                           IUDGMENT

        This matter came on for Trial before a Jury and the Honorable Janet Bond Arterton,

United States District Judge. On December 20, 2017, the jury returned a unanimous verdict on

liability for the Plaintiffs.

             Therefore, it is hereby;

        ORDERED, ADJUDGED, and DECREED that Judgment is entered for the Plaintiffs and

against the Defendant as to liability, and the case is closed. An Amended Judgment shall enter at

such time that damages and attorney fees and costs are awarded by the Court.

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                          Dated at New Haven, Connecticut this _2_ day ofJanuary, 2018.



                                                     ROBIN D. TABORA, Clerk
                                                     By:




          1/5/2018
EOD: -----------------------
